          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                     CRIMINAL CASE NO. 3:94cr126


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                      ORDER
                          )
                          )
RONALD BROWN.             )
                          )



      THIS MATTER is before the Court on the Revised Supplement to the

Presentence Report Pursuant to Crack Cocaine Guideline Amendment

[Doc. 400] and the Revised Sentencing Recommendation Pursuant to

Crack Cocaine Guideline Amendment [Doc. 401], and the Government’s

Motion to Reconsider Order Reducing Defendant’s Sentence [Doc. 402],

filed January 8, 2009.

      In the first Supplement to the Presentence Report Pursuant to Crack

Cocaine Guideline Amendment [Doc. 396, filed December 29, 2008], the

Probation Officer erroneously calculated the Defendant’s adjusted Offense

Level as 34. As pointed out by the Government, the error occurred when

the Officer referenced the Offense Level reflected in the District Court’s



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Statement of Reasons instead of the original presentence report. [Doc.

398, filed December 30, 2008, at 2 n.1]. The Statement of Reasons

reflected the level to which the Court departed downward pursuant to the

Government’s U.S.S.G. §5K1.1 motion. [Id.]. Both the Probation Officer

and the Government have clarified that the correct adjusted Offense Level

prior to any motion for a downward departure was 39 and that this is the

Offense Level to which the Amendment applies. The Court agrees. For

this reason the Order [Doc. 399] granting the Defendant’s Motion to

Reduce Sentence [Doc. 391] should be vacated and the Defendant’s

Motion [Doc. 391] addressed anew.

     Therefore, based on the adjusted Offense Level of 39 and Criminal

History of V, the Defendant was subject at sentencing to a Guideline range

of 360 months to life imprisonment. He was sentenced to 240 months

imprisonment, which was 67% of the low end of that range. As a result,

upon application of the Crack Cocaine Amendment, the Defendant’s

adjusted Offense Level is reduced to 37. With his Criminal History of V, his

Guideline range of imprisonment is 324 to 405 months. Sixty-seven

percent (67%) of the low end of that range results in a sentence of 217

months imprisonment. The Court will therefore grant the motion for

reconsideration by separate Order.



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     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Reconsider Order Reducing Defendant’s Sentence [Doc. 402] is hereby

GRANTED. The Order [Doc. 399] of the Court dated January 5, 2009,

granting the Defendant’s Motion to Reduce Sentence [Doc. 391] is hereby

VACATED. A new Order will be entered addressing the Defendant’s

Motion that is separate from this Order.



                                     Signed: January 14, 2009




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